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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 SAMUEL WILSON; and PENNY RUSSELL,

                Plaintiffs,                                CIVIL ACTION NO.: 2:18-cv-113

        v.

 GLYNN COUNTY SCHOOL DISTRICT,

                Defendant.


                              AMENDED SCHEDULING ORDER

       This matter is before the Court on the parties’ Consent Motion to Extend Discovery

Deposition Period. Doc. 8. Upon review and for good cause shown, the Court GRANTS the

Consent Motion.

       Pursuant to Federal Rule of Civil Procedure 16(b) and the Local Rules of this Court, the

Court issues the following scheduling order in this matter. With the issue having been removed

on September 18, 2018, the parties having held a conference pursuant to Federal Rule of Civil

Procedure 26(f) on October 9, 2018, and the parties moving for extension of various deadlines

contained in the original Scheduling Order, the following deadlines shall apply.

       These deadlines shall not be extended except upon a specific showing of good cause and

order of the Court. Fed. R. Civ. P. 16(b)(4). It is the Court’s expectation that the parties will

not need an extension of these deadlines. The showing of good cause necessary to obtain an

extension of any of these deadlines requires a specific showing of what the parties have

accomplished to date in discovery, what remains to be accomplished, and why the parties have

not been able to meet the Court’s deadlines. Bare boilerplate assertions such as “the parties
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have diligently pursued discovery to date, but additional time is necessary” will not suffice to

establish good cause.

        Additionally, should any party seek an extension of these deadlines or seek the extension

of any other deadline in this case (including an extension of a deadline to respond to a motion or

file any other pleading), the party should first contact all other parties and determine if the other

parties join in, consent to, or oppose the request for an extension. When filing the motion for an

extension, the party requesting the extension must state in their motion for an extension whether

the other parties join in, consent to, or oppose the request for an extension.



DISCOVERY DEPOSITIONS OF WITNESSES WHO
HAVE NOT BEEN DESIGNATED AS EXPERTS                                                     March 22, 2019


POST-DISCOVERY STATUS REPORT DUE 1                                                         April 1, 2019


POST-DISCOVERY STATUS CONFERENCE                                                         April 15, 2019


LAST DAY FOR FILING ALL CIVIL MOTIONS,
INCLUDING DAUBERT MOTIONS, BUT
EXCLUDING MOTIONS IN LIMINE                                                              April 22, 2019


DEPOSITIONS OF ALL WITNESSES (WHETHER FACT
OR EXPERT) THAT ARE DE BEN ESSE DEPOSITIONS
AND TAKEN NOT FOR DISCOVERY BUT FOR USE
AT TRIAL                                                                                  May 23, 2019




1
        A Status Report Form is available on the Court’s website www.gasd.uscourts.gov under “forms.”
The parties are directed to use the content and format contained in this Form when reporting to the Court.



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PRE-TRIAL ORDER DUE 2                                                                      June 20, 2019


        SO ORDERED, this 8th day of February, 2019.




                                         ____________________________________
                                         BENJAMIN W. CHEESBRO
                                         UNITED STATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




2
         The pretrial order shall be in the format for Judge Lisa Godbey Wood. The required form can be
located at the Court’s website www.gasd.uscourts.gov under “Forms.” If a motion for summary
judgment or other dispositive motion is pending at the time of this deadline, the deadline for filing the
pretrial order is not automatically extended. In such event, the parties need not and shall not file a
motion to extend the pretrial order deadline. Rather, the parties shall file the proposed pretrial order
within 21 days of this Court’s ruling on the motion for summary judgment or other dispositive motion.
In addition, the deadlines for filing set forth in the Court’s November 9, 2018 Order, doc. 7 at 3–4, shall
remain unchanged.


                                                     3
